  Case 3:13-cr-00226-RNC Document 408-2 Filed 12/20/18 Page 1 of 15




                 EXHIBIT
                          ONE
       Judge Martinez's Comments at
Mr. Carpenter's Presentment and Arraignment
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  Case 3:13-cr-00226-RNC Document 32 Filed 01/28/14 Page 1 of 82




                      UNITED STATES DISTRICT COURT

                         DISTRICT OF CONNECTICUT


       ------------------------------- X

         UNITED STATES OF AMERICA,
                           Plaintiff,             Criminal No.
                                               3:13-CR-00226(RNC)
                        vs.
                                                January 17, 2014
         DANIEL CARPENTER, ET AL.,
                           Defendants.

       ------------------------------- X



                                          Federal Building
                                          450 Main Street
                                          Hartford, Connecticut



                       PRESENTMENT AND ARRAIGNMENT


               (Transcription from Electronic Recording)


      Held Before:

                      THE HON. DONNA F. MARTINEZ
                     United States Magistrate Judge




                        Transcription Services of
                     FALZARANO COURT REPORTERS, LLC
                         117 North Saddle Ridge
                        West Simsbury, CT 06092
                              860.651.0258
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  1    you know, we come after that.      And if that comes to

   2   pass I'm sure I'll be notified immediately and Mr.

   3   Carpenter will be brought back in before me and we'll

   4   have to revisit the issue of conditions of release.

   5                   He has this long, long history in

   6   Massachusetts and has been exposed there for many,

   7   many years to periods of incarceration and all the

   8   information I have before me is that he's been very

   9   faithful in meeting his responsibilities in

 10    Massachusetts and I must and do take that into account

 11    in making decisions about his release today.

 12                     I also order that the $750,000 be

 13    secured by any interest his daughter has in any

 14    property she owns, including the real estate she's

 15    mentioned.

 16                     I understand the concern expressed here

 17    about that all of the property falling sort of the

 18    $750,000 that I have set, but I agree actually with

 19    the comments made by Mr. LaBelle that what we're

 20    talking about here is not so much the Government's

 21    recovery of the bond as disincentive for the Defendant

 22    to fail to appear here in Connecticut.        He's been

 23    married for many, many years.      His wife is here.        They

 24    have one adult daughter and we're tying up his, as far

 25    as I can see from everything that's being presented to
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   1   me today, we're tying up all of the assets that his

   2   wife and daughter have in the eventuality, which is of

   3   course what we're all considering here, that Mr.

   4   Carpenter stands convicted of the crimes that he's

   5   accused of, that's what his wife and daughter are left

   6   with.     And, you know, I'm not persuaded that Mr.

   7   Carpenter would leave his wife and his only child in

   8   that fix.     So that's with regard to the bond.

   9                     As for the conditions of release I

 10    order the following:

  11                     The Defendant must not violate federal,

 12    state and local law while on release.

  13                     He must cooperate in the collection of

  14   a DNA sample if it's authorized by statute.

  15                     He must advise the court or Pretrial

  16   Services in writing before any change of address and

 17    telephone number.

  18                     He must appear in court as required and

  19   if convicted surrender as directed to serve any

  20   sentence that might be imposed.

  21                     He must sign his appearance bond.

  22                     He shall submit to supervision by and

  23   report for supervision to the United States Probation

  24   Office.

  25                     I understand that the representation
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   1   has been made to me that he has no passport,

   2   nonetheless for the record I am going to include a

   3   provision that he surrender any passport.         I also

   4   order that he not obtain a passport or other

   5   international travel document.

   6                   As to travel restrictions, he is

   7   restricted to Connecticut, Massachusetts, Rhode Island

   8   and New York.   He may travel to other states within

   9   the mainland United States with the advance permission

 10    of the United States Probation Office and he must

 11    request that permission no less than 72 hours in

 12    advance of any travel.

 13                     Is there any request about restrictions

 14    on witness or victim contact?

 15                    MR. NOVICK:     No, your Honor.

 16                     I would just add one other request for

 17    a condition which would be that the Defendant be

 18    obligated to comply with any lawfully issued court

 19    orders in the United States or state court.

 20                     THE COURT:   All right.     I'll get to

 21    that.

 22                     Do you own any firearms, Mr. Carpenter?

 23                    MR. CARPENTER:     No, your Honor.

 24                     THE COURT:   The Defendant shall not

 25    possess a firearm, destructive device or other weapon.
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                 EXHIBIT
                  TWO
Support Letter from Dr. Joseph Vecchiarino
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                                 Dr. Joseph C. Vecchiarino, III
                                      5 Ohehyahtah Place
                                      Danbury, CT 06810

Re:    Daniel Carpenter

Dear Judge Chatigny:

        I am writing this letter in support of my good friend Daniel Carpenter, who I met at Avon
Old Farms in 1969- almost 50 years ago. I wanted to speak at Dan's sentencing, but because I
am bedridden with Stage Four Cancer that has recently become much worse, I know that I will
not be able to make it.

        I am trying my best to write on the IPad Pro that Dan bought for me so that I could draw.
Moving my fingers is difficult, so I am sharing this with Dan's friends and a young family that I
introduced to Dan so he could get a scholarship at Avon Old Farms. Dane Bartkiewicz is at the
end in the picture with his brother Blake. The Avon shirt Dan is wearing was designed by me as
was the Avon sweater. Dane's mother, Ari, is the woman in the picture by my bedside. Dan has
become good friends with the Bartkiewicz family, and has been instrumental in helping Dane get
an ROTC Scholarship to Yale, Harvard, MIT, or Stanford.

        The reason I got Dan involved with Dane in the first place was because he is one of the
most thoughtful and generous people that I know. I know that he has set up a number of
charitable trusts for Avon, and his Diogenes Fund has put at least two-dozen young men through
Avon. I know others will talk about Carpenter Field; the Soccer Field, the Lacrosse Field, and of
course the Baseball Field, which everyone says is the nicest in New England. But Dan also gave
the money for the Kron Physics Lab, the Chemistry Lab, and the Leavitt-Mendell Day Student
Building, plus several other buildings where Dan gave the money but kept his name out of it, and
named the buildings after his favorite teachers.

        I know he was asked to leave Avon's Board of Directors in 2004 because of his
indictment in Boston. I hated Avon for what they did to Dan, and I told everyone about that.
Dan still kept giving money though, and still put a number of ldds tln·ough Avon, and he was a
trustee of the WALKS Foundation and gave money to Westminster and Suffield Academy as
well because his daughter Carrie went there. But, he never once stopped giving to the School
despite being asked to leave the Board.

        Dan Carpenter is the most honest man I know, and I designed a POTUS button for him
because I want him to run for President in 2020. My only disappointment is that Dan and I
served together in Washington as the first Young Republican Interns in the Senate with Senator
Lowell Weicker; but because of his time at Canaan, I fear he has become a fallen-away
Republican and is now a full-fledged Liberal Democrat. Please do not hold that against him; I
certainly don't. I know that in his heart he loves people- all people- everyone. He not only
wants to cure my cancer, but also poverty in America. If Dan Carpenter were President, no one
would need to worry about the Children's Health Insurance Program or where their next meal
was coming from.
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        It is important to me that you look at the man that I have !mown for almost 50 years. He
is the "real deal", and does not have a greedy bone in his body. He has the utmost integrity,
cares about the people around him, and Society in general, and I have never seen him hurt
anyone or even heard of him trying to hurt someone. For him to be accused of defrauding
anyone is simply untrue.

        Since I will be unable to make Dan's sentencing on March 6th, I would respectfully ask
that you give Dan the lowest possible sentence or probation, as he has suffered enough since
Avon kicked him off the Board in 2004 and the three years he spent at Canaan for a crime he did
not commit. I should know; I wrote to Dan every week that he was at Canaan for three years,
and for every one of my letters, he sent me back two. If anyone deserves a second chance, it is
Dan Carpenter.

       Thank you for your thoughtful consideration of my request on Dan's behalf.

Sincerely,


Dr. Joseph C. Vecchiarino, III*




*Dr. Vecchiarino passed away Friday, February 2, 2018 in his bed in the picture.
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               EXHIBIT
                THREE
 Support Letter from Angelo Efthimiatos
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The Honorable Robert N. Chatigny
United States District Court
District of Connecticut
450 Main Street- Room 228
Hartford, Connecticut 06103

Dear judge Chatigny,

I was Dan Carpenter's Bunkie for nearly two years at the FPC Canaan from
September 2014 to june 2016 when I was released to a halfway house in
Manchester, New Hampshire in large part thanks to Dan's help in getting me extra
halfway house time. He took the time to write an 8 page letter to the Camp
Administrator, Mr. Paul Gibson, on my behalf.

Dan has graciously and selflessly helped a number of people at Canaan from getting
compassionate release for Mr. john Rigas to getting three dozen people reduced
sentences under the "two point reduction" Amendment 782 to the Sentencing
Guidelines for Drugs. Dan personally wrote and had typed dozens of 3582(c)
motions for many indigent Black and Hispanic inmates. I was there. I personally
witnessed Dan writing countless motions and I witnessed several other inmates
typing those motions, including Charlie Adams who Dan did a 2255 for in Boston.
Dan also wrote 2255 motions for a dozen other inmates, including myself. These are
time consuming documents to research and write and Dan never gave it a thought.
He selflessly offered his time and expertise to help others with no expectations
beyond a thank you. He was offered many things by many people, but he never
accepted anything in return for helping people with his advice or helping them with
their legal problems. To that point, when Dan was taken out of Canaan on December
28, I counted over 60 inmates that came up to hug Dan or shook his hand and
wished him well, some with tears in their eyes.

While Dan was at Wyatt waiting for his trial, he hand wrote a 50 page brief that I
submitted to the Supreme Court. Unfortunately, it was later returned to me because
I did not fill out the In Forma Pauperis form correctly as I did not have Dan's
expertise and help. That brief was filed again with the Supreme Court with Dan's
help from Canaan. Dan has helped over 30 inmates that I know personally to get
their sentences reduced. The minimum was Matt Hibbard who received a sentence
reduction of 10 months and the most was Ray Leech who received FOUR YEARS off
his sentence, extra half way house time, and home confinement. Ray walked out of
FPC Canaan 5 years before he expected to and it was Dan Carpenter that did all of
his filings. Without Dan's help, Ray would still be at Canaan. No one! Not even the
caseworker did anything on Ray's behalf to help him. Dan was the only one who
cared and worked to get Ray what he was entitled to under the law. I was standing
next to Dan when Ray Leech came up to him and hugged him with tears in his eyes
as he was getting ready to walk out the door. Dan gave Ray a gift that no one else
even cared to give. Dan worked selflessly and tirelessly to help guys he barely knew
and had just met because he is generous, kind hearted and does right.
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Your Honor, I know the man, and Dan Carpenter does not have a criminal bone in
his body. Dan Carpenter was the most trusted man on the Canaan compound. And
he religiously refused to accept anything for the services and counsel that he
provided people. Not even a package of tuna or mackerel, the currency in prison, for
helping people file extensive briefs in their defense when they have been abandoned
by everyone else. I urge you to read all of the filings in my case. Dan Carpenter
wrote every word of every filing, spent time mulling points over to get them just
right, and did not charge me a nickel or a tuna!

In fact, because my wife and daughter had no car to come visit me at Canaan, Dan
Carpenter helped to research and find a way for my wife to buy a car. And, when I
needed a car to go to work after leaving Canaan, he was again able to research and
find another program that allowed my family to purchase a second car. I know this
man! I slept less than 5 feet away from him for over 3 years now. Dan Carpenter is
an honorable, generous and upstanding man.

Please, I implore you, to see Dan for who and what he truly is, and I can personally
guarantee that anyone who encountered Dan at Canaan would gladly testify that
Dan Carpenter is a certifiable Saint. Dan is honorable and honest with the most
integrity of any human being I have ever known.

Thank you for the thoughtful consideration of my request.

Respectfully Submitted,



Angelo P. Efthimiatos
3710 Rt. 30
Sudbury, VT 05733
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                EXHIBIT
                     FOUR
         April20, 2010 Search Warrant
               Case 3:13-cr-00226-RNC Document 408-2 Filed 12/20/18 Page 13 of 15




          .,                                    United States District Court

  _ _...,...._ _ _ _ _ _ _ DISTRICT OF _ _ _· .,C""O"'NNE"'"""'"'C"'TI"'-CUT=..__ _

        In the Matter of the Search of
  (Name, address or BriE>f description of person,                          SEARCH WARRANT
  property or premises to be searched)
                                                                   CASE NUMBER:
 The office of NOVA BENEFIT PLANS LLC, also
 known as BENISTAR, located at 100 Grist Mill
 Road, Simsbury, Connecticut.




 To: Shaun S~hrader. ffiS-CID and any Authorized Officer ofthe United States

 Affidavit(s) having been made before me by Special Agent Shaun Schrader who has reason-to believe that
 an the person of or~ on the property nr premises known as (name, description and/or location)
 The office ofNOVA BENEFIT PLANS LLC, also known as BENlSTAR, located at l 00 Grist :Mill Road, Simsbwy,
 Connecticut, 06070. The property is described as a siugle story office buildiug. The lower portion of the buildiug consjsts
 of red brick and windows, while the upper portion of the buildiug consists of horizontal gray sidiug. The property is
 accessed by a short driveway off of GristMill Road. At the bottom of the driveway is a red brick structure with a sign
 attached to it that says "100 GlUST :MiLL RD." At the top of the driveway, as you approach the parkiug lot, is a wooden
 sign that reads "DIRECTORY, ENTRANCE 1, BENISTAR." There is no signage on the exterior of the buildiug itself.
 in the·                             District of            CONNECTICUT               there is now
 concealed a certain person or property, namely (describe the person or property to be seized)

See Attachment B.
I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that' the
person or property so described is now concealed on the person or premises above-described and
establish grounds for the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before                          Apntl      2s;_ ·2-0 I 0
(not to exceed 10 days) the person or place named above for the person or property specified, serving this
warrant and making the seal"clt (in the daytime· 6:00A.M. to 10:00 P.M.) (at any time in the day ot night
as I fittd 1 easonable cause h ..s been esta-blished) and if the person or property be found there to seize
same, leaving copy of this warrant and receipt for the person or property taken, and prepare a written
inventory ofthe person or property seized and promptly return this warrant to THOMAS P. SMITH.
UNITED STATES MAGISTRATE JUDGE as reqnired by law.


 A,priJ/6. 2010 .at /-'OS' Q. m-                                  at     HARTFORD. CONNECTICUT
Date and Time Issued/                                               City and State


Til:OMAS P. SMITH
UNI'ffiD STATES MAGrSIRATE JUDGE                                  ~ t t t « tfi:::i?L--:-1---
                                                                                      11....
Name and Title of Judicial Officer                                  SignatUJ·e of Judicial Officer
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                EXHIBIT
                 FIVE
         May 26,2011 Search Warrant
                   Case 3:13-cr-00226-RNC Document 408-2 Filed 12/20/18 Page 15 of 15



       AO 93 (Rev. 12/09) Search and Seizure Warrant



                                             UNITED STATES DISTRICT COURT
                                                                             for the
                                                                    District of Connecticut

                         In the Matter of the Search of                            )
                    (Briefly describe the property to be searched                  )
                     or identifY the person by name and address)                   ) CaseNo.
                                                                                  )
     The entirety of the premises located at 100 Grist Mill
     Road in Simsbury, Connecticut, and more particularly                         )
                  described in Attachment B                                       )

                                                    SEARCH AND SEIZURE WARRANT
    To:       Any authorized law enforcement officer
             An application by a federal law enforcement officer or an attorney for the government requests the search
    of the followit\g person or property located in the                          District of          Connecticut
    (identifY the person or describe the property lo be searched and give Its location):
    The entirety of the premises located at 100 Grist Mill Road In Simsbury, Connecticut, and more particularly described
    in Attachment B
             The person or property to be searched, described above, is believed to conceal (IdentifY the person or describe the
   properly to be seized);
    See Attachment D



                                                                                                      I
           I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
   property.
            YOU ARE COMMANDED to execute this warrant on or before                             __(.-=---1--j-41-,l\-*\-:-====----
                                                                                                          . 1(not   to exceed 14 days)
   --......__th in the daytime 6:00 a.m. to I0 p.m.             0 at any time in the day or night as I find reasonable cause has been
      7'-                                                           established.

          Unless delayed notice Is authorized below, you must give a copy of the warrant and a receipt for the property
 taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
 place where the property was taken.
          The officer executing this wanant, or an officer present during the execution of the warrant, must prepare an
  inventory as reqqired by law and promptly return this warrant and inventory to United States Magistrate Judge
· Joan G. Margolis
                                  (name)
      0 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or sei2ed (check the opproprtate box) 0 for              days (nollo e;;ceed 30).
                                               0 until, the facts justi lng, the later specific date of

Dateandtimeissued:             sj-1..r\ \\      1
                                                    12:'-1J CL
                                                                I                                  Judge •s signature

City and state:     .cN,e"'w-'H""a"'ve,n"',. : :C:.!.T_ _ _ _ _ _ __                              Joan G. Margolis
                                                                                                 Printed name and title
